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                           IN THE UNITED STATES COURT OF
                           APPEALS FOR THE FIFTH CIRCUIT


Keith Cole

                           Plaintiff-Appellant,

                      v.                                           No. 23-40216

Lorie Davis, et al.

                           Defendants-Appellees.




        SECOND MOTION FOR EXTENSION OF TIME IN WHICH TO
                  FILE THE APPELLANT’S BRIEF

        Appellant respectfully requests an additional 15-day extension in which to file

his opening brief from the current deadline of September 6, 2023 to September 21,

2023.

        1.    Undersigned counsel has recently been retained to handle Appellant’s

appeal pro bono. Mr. Cole was previously operating pro se. Undersigned counsel

and her colleagues are therefore new to the issues raised in this appeal.

        2.    Undersigned counsel was previously granted a thirty-day extension

which set the deadline to September 6, 2023.

        3.    Undersigned counsel has had, and continues to have, a series of other

pressing appellate deadlines including an opening brief due in the Ninth Circuit on


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August 23, 2023 in Watanabe v. Derr, 23-15605; a reply brief in the Fourth Circuit

on August 28, 2023 in Pendleton v. Jividen, 23-6344; pressing discovery matters in

Jones et al v. City of St. Louis, Missouri Jones, 4:21-cv-00600; a number of pressing

trial matters; and other matters that will likely arise.

      4.     Appellee contacted Appellant’s counsel who has no objection to this

motion for a 15-day extension.

                                   CONCLUSION

      For the foregoing reasons, Appellant respectfully requests a 15-day extension

of time, up to and including September 21, 2023 in which to file his opening brief.

                                         Respectfully submitted,

                                         /s/ Amaris Montes
                                         Amaris Montes
                                         Rights Behind Bars
                                         416 Florida Avenue NW, #26152
                                         Washington, DC 20001




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                         CERTIFICATE OF SERVICE

      I hereby certify that on August 18, 2023, I electronically filed the foregoing

Motion for a 15-Day Extension of Time in Which to File the Appellant’s Brief with

the Clerk of the Court for the United States Court of Appeals for the Fifth Circuit by

using the appellate CM/ECF system. Participants in the case who are registered

CM/ECF users will be served by the appellate CM/ECF system.


Date: August 18, 2023


                                       /s/ Amaris Montes
                                       Amaris Montes

                                       Rights Behind Bars
                                       416 Florida Avenue NW, #26152
                                       Washington, DC 20001
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                     CERTIFICATE OF COMPLIANCE

      I hereby certify that this motion complies with the type-volume requirements

of Rule 27(d)(2)(A) and Rule 32(g). This motion contains 230 words.

Date: August 18, 2023


                                     /s/ Amaris Montes
                                     Amaris Montes

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                                     Washington, DC 20001
